                                                                   EXHIBIT 32
                   Case 1:17-cv-00061-FYP-GMH Document 37-32 Filed 03/03/21 Page 1 of 2

      9/18/2020                                            Koelble's Korner: Dad's loss brings bereavement tips | News | news-herald.com



         https://www.news-herald.com/news/koelbles-korner-dads-loss-brings-bereavement-tips/article_ba9d0d88-5aea-
         53cb-bda6-930d00def108.html

         Koelble's Korner: Dad's loss brings bereavement tips
         Chuck Koelble
         Jun 19, 2010




         Andre Parhamovich, with 32 years employed as a teacher of physical education and a coach at
         Painesville Schools, is no different than any other father who may have lost a daughter under a
         most difficult situation. But now, after years of grief since losing daughter Andi, ambushed and
         killed by insurgents in Iraq, where she had gone to teach elected officials the principles of
         democracy and human rights, he has attempted to ease some of the deepest hurts. Writing for a
         bereavement magazine, We Need Not Walk Alone, Andre details his thoughts in heart-rending style
         via the following poem: "Grief is like wearing invisible clothing. No one else can see it, and only I
         can feel it. Some days it is heavy, some days it is light, But I know it will be with me for the rest of
         my life." He further suggests that anyone grieving the loss of someone they love should try to
         create "a new normal." Whatever your "new normal" is, it may help to find at least small comforts
         in your pain. Wife Vicki and other family members -- sons Cory and Chris, daughter Marci, and
         grandchildren Abby and Kayla -- all have found positive ways to remember Andi in the Andi
         Foundation, which provides scholarships to women who aspire, like Andi, to help the world. Hence
         the reason for the third annual Andi Foundation Golf Classic on Aug. 7 at Thunder Hill Golf Club,
         7050 Griswold Road in Madison Township. Support for the scholarships will be derived from the
         golf event, scheduled to begin at 1 p.m. with a four-man scramble format. Individual participation
         is $100, or a foursome set at $400. Requests for registration and/or sponsorship commitment
         forms can be obtained by contacting Joe Zampini at                                                        or

         www.theandifoundation.org


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PARHAMOVICH V. IRAN                                                                                                                                              PLA000173
1:17-CV-00061 (KBJ)
                   Case 1:17-cv-00061-FYP-GMH Document 37-32 Filed 03/03/21 Page 2 of 2

      9/18/2020                                            Koelble's Korner: Dad's loss brings bereavement tips | News | news-herald.com

         . Check-in time begins at 11:30 a.m. Cost includes 18 holes/golf cart, buffet lunch, door prizes, skill
         shots, hole-in-one contest tee pack and steak dinner. Andi, incidentally, would have been 32 years
         old this past Wednesday. Looks at Breckenridge Breckenridge Village of Willoughby will be the
         subject on two fronts during the noon July 1 meeting of the Lake County Chapter of Public
         Employees Retirees Inc. in Dino's Restaurant at Interstate 90 and Route 306. The program, which
         follows lunch, will be presented by Michelle Davey and Lucy Nixon, Breckenridge representatives
         who will cover senior independence and senior outreach programs. Business matters will include
         events and legislation affecting retirees. Reservations, required by June 27, may be made with Rose
         Wolf, calling 440-953-3121. All OPERS retirees are welcome. TD Club list grows Special
         contributors have been a vital link in the success of the Lake County Touchdown Club since its
         inception 29 years ago. That donor list is categorized in four levels -- Super Game Winner ($125
         and over); Game Winner ($100); Touchdown ($75); Field Goal ($50). Listed at those levels, through
         Wednesday, were: Super Game Winner -- College Prospects of America (Gary Kadow), $225; Lynn
         and Sheila Smith of Painesville, $140; Jeff Mitchell of Willoughby, $125; and Bob Mallett of Mentor,
         $125. Game Winner -- TLC Kennels (Sally Phillips) of Madison; Trivisonno CPA (Pam Trivisonno) of
         Mentor; and Chuck Koelble of Willoughby. Touchdown -- Joan Smith of Painesville and Bill Sopchak
         of Painesville; and Richard and Sharon Beeler of Chardon. Field Goal -- George Sweda Jr. of
         Concord Township; Tom Houston, George and Barbara Inscho of Painesville; John Mummey of
         Fairport Harbor; and Stan and Marion Lipinski of Mentor. Individual memberships since last week's
         accounting have included Dick Huntoon and U.S. Flag and Touch Football (Michael Cihon) of
         Mentor; John McCann of Concord Township; George Spinner of Surprise, Ariz.; and George and
         Antoinette Sutyak of Madison. The year's banquet page sponsorship are all returnees -- the
         Kirtland Athletic Boosters, Wickliffe Football Parents and State Farm Insurance (Paul Kucsma) of
         Lyndhurst, who backs Lake Catholic and Fairport Harding pages. Individual membership is $20,
         entitling cardholders to Lake County regular-season home games with a $2 discount on gate price.
         They may be obtained by sending $20 check payable to the Lake County Touchdown Club, P.O. Box
         544, Willoughby, OH 44094. 'Challenge' wraps up Copley, Hudson and Manchester toe the line at
         7 tonight on WEWS-TV 5, winding up a 42nd season for "Academic Challenge," the long-running
         scholastic quiz show. Rewards of $10,000, $6,000 and $4,000, provided by sponsoring Westfield
         Insurance, go to three finalist schools. Copley collared 755 points in the show's second week Dec.
         19, Hudson hit 705 on Jan. 23 and Manchester's third-place 670 points came on the season's first
         show last Dec. 12. None of those totals have any weight in tonight's action. Seven other schools
         that round out the season's top 10 each are in line for $2,000 rewards -- Garfield Heights 665,
         South Central 635, Northwest 625, Oberlin 600, University School 590, Elyria Catholic 585 and
         Medina 580. Copley's 755 points turned out to be the highest regular-season point total over the
         last seven seasons. The school had earned the top 2005-06 spot in final competition with Garfield
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PARHAMOVICH V. IRAN                                                                                                                                              PLA000174
1:17-CV-00061 (KBJ)
